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                                                                 December 31, 2020


VIA ECF
Clerk of the Court
United States District Court – District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, NJ 07102


            Re: Wharton LH LP v. Tri Coastal Design Services, LLC, et als.
                Civil Action No. 2:20-cv-18008

                           REQUEST PURSUANT TO L. CIV. R. 7.1(d)(5)

Dear Sir/Madam:

       This firm represents plaintiff Wharton LH LP (“Plaintiff”) in the above-referenced
matter. On December 16, 2020, Defendants filed a Motion to Dismiss Plaintiff’s Complaint
[ECF No. 5]. On December 17, 2020, the Clerk entered a Text Order providing that Defendants’
motion shall be returnable on January 19, 2021.

        Please accept this letter as formal notice pursuant to L. Civ. R. 7.1(d)(5), that Plaintiff
hereby invokes the 14-day automatic extension under that rule, which shall serve to modify the
return date on Defendants’ motion to February 1, 2021. The return date of Defendants’ motion
has not been previously extended, and the deadline for Plaintiff to serve responsive papers has
not passed.

            Thank you for your attention and consideration in this matter.

                                                  Respectfully submitted,

                                                  /s/ C. John DeSimone, III
                                                  C. John DeSimone, III

cc:         Tedd Levine, Esq. (via ECF and e-mail)


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